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             Apr 2009 – Present • 8 yrs 2 mos
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             Senior Patent Counsel                                                                                        Tom DiMauro
             Bristol-Myers Squibb                                                                                         patent attorney at Johnson & Johnson
             Oct 2004 – Apr 2009 • 4 yrs 7 mos
             Princeton, Nj                                                                                                Michael Atkins
                                                                                                                          Assistant General Counsel - Patents
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             Greenblum & Bernstein, P.L.C.                                                                                Pharmaceutical Sector of Johnson &
                                                                                                                          Johnson and separately, Meditation
             Mar 2001 – Oct 2004 • 3 yrs 8 mos
                                                                                                                          Instructor
             Reston, VA

             Patent attorney focused on interference and inter parties matters.                                           Lisa C. Fodor • 3rd
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                                                                                                                          Assistant General Counsel - Patents at
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             Patent agent/clerk and attorney focused on biotech patent matters.
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